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Robert Diggs                                Tarik Azzougarh


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Robert Diggs                                Tarik Azzougarh




Martin Shkreli


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Martin Shkreli


Paddle 8, Inc.,
solely in its capacity as Escrow Agent hereunder


By:




_____________________________
      Alexander Gilkes




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